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                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                               717 MADISON PLACE, N.W.
                               WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                       CLERK’S OFFICE
  CLERK OF COURT                                                          202-275-8000


                                   March 25, 2024

                     2023-1887 - Acufloor, LLC v. EvenTile, Inc.

                     NOTICE OF NON-COMPLIANCE
The document Response Brief submitted by EvenTile, Inc. is not in compliance with
the rules of this court. Within five business days from the date of this notice, please
submit a corrected version of this document correcting the following:

   •   The document is untimely. A motion is required to file the document out of
       time. Fed. R. App. P. 31(a); Fed. Cir. R. 31(a).


                                         ***

 If applicable, the deadline for the next or responsive submission is computed from
   the original submission date, not the submission date of the corrected version.

   When filing the corrected document, please include the word "Corrected" in the
  document title or on the cover. See Fed. Cir. R. 25(c)(4) and Fed. Cir. R. 25(i) for
                      information concerning corrected filings.

 A party's failure to timely file a corrected document curing all defects identified on
 this notice may result in the original document being stricken from the docket. An
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appellant's failure to cure a defective filing may also result in the dismissal of the
                      appeal pursuant to Fed. R. App. P. 31(c).


                                               FOR THE COURT




                                               By: J. Phillips, Deputy Clerk
